Case No. 1:07-cv-02303-REB-KLM Document 43 filed 10/10/08 USDC Colorado pg 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 07-cv-02303-EWN-KLM

MARK JORDAN,

       Plaintiff,

v.

UNITED STATES DEPARTMENT OF JUSTICE and
FEDERAL BUREAU OF PRISONS,

       Defendants.



                     VAUGHN INDEXES AND SUPPORTING DECLARATIONS


       Defendants, by undersigned counsel, submit the attached Vaughn Indexes and supporting

declarations of Richard Winter and Ron Hill:

                                                 Respectfully submitted,

                                                 TROY A. EID
                                                 United States Attorney

                                                 s/William Pharo
                                                 By: William Pharo
                                                 Assistant United States Attorney
                                                 1225 17th Street, Suite 700
                                                 Denver, CO 80202
                                                 Phone: (303) 454-0100
                                                 Fax: (303) 454-0407
                                                 william.pharo@usdoj.gov

                                                 Attorney for Defendants




                                                  1
Case No. 1:07-cv-02303-REB-KLM Document 43 filed 10/10/08 USDC Colorado pg 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 10, 2008, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, and I mailed the foregoing to the following non
CM/ECF participants:

      Mark Jordan
      # 48374 066
      USP-MAX
      PO Box 8500
      Florence, CO 81226


                                               s/William Pharo
                                               William Pharo
                                               Assistant United States Attorney
                                               Attorney for Defendants
                                               United States Attorney’s Office
                                               1225 Seventeenth St., Suite 700
                                               Denver, Colorado 80202
                                               Telephone: (303) 454-0100
                                               Fax: (303) 454-0404
                                               E-mail: william.pharo@usdoj.gov




                                               2
